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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    BLACK MOUNTAIN EQUITIES, INC.,                    Case No.: 21-CV-571 JLS (BGS)
12                                     Plaintiff,
                                                        ORDER (1) GRANTING MOTION
13    v.                                                TO WITHDRAW AS COUNSEL AND
                                                        (2) OF FINAL JUDGMENT
14    TWO RIVERS WATER & FARMING
      COMPANY,
15                                                      (ECF Nos. 49, 52)
                                     Defendant.
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18         Presently before the Court are Jonathan C. Sandler, Jonathan D. Marvisi, Stanley L.
19   Garnett, and Amanda K. Houseal of Brownstein Hyatt Farber Schreck, LLP’s
20   (“Brownstein”) Motion to Withdraw as Counsel (“Mot. to Withdraw,” ECF No. 52) and
21   Plaintiff’s Status Update Regarding Settlement and Request for Entry of Final Judgment
22   (“Req.,” ECF No. 49). Plaintiff Black Mountain Equities, Inc. (“Plaintiff”) asks that the
23   Court enter final judgment as “agreed to in substance at the settlement conference.” Req.
24   at 2. On November 22, 2021, the Court issued an order requiring Defendant Two Rivers
25   Water & Farming Company (“Defendant”) to respond to Plaintiff’s Request within seven
26   days. See ECF No. 51. On December 3, 2021, Brownstein filed its Motion to Withdraw,
27   which noted that “this case has been settled, and Plaintiff has requested an entry of
28   judgment against Defendant, which Defendant does not oppose.” Mot. to Withdraw at 2.

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 1         Good cause appearing, the Court GRANTS Brownstein’s Motion to Withdraw and
 2   GRANTS Defendant’s Request.            The Clerk of the Court SHALL TERMINATE
 3   Brownstein as counsel of record for Defendant. Furthermore, the Clerk of the Court
 4   SHALL ENTER Final Judgment as follows:
 5         Plaintiff Black Mountain Equities, Inc. (“Black Mountain” or “Plaintiff”) filed its
 6   Complaint against Defendant Two Rivers Water & Farming Company (“TURV” or
 7   “Defendant”), and after Defendant having answered the Complaint, the parties reached a
 8   settlement of all claims and filed their Joint Notice of Settlement (ECF No. 36) on July 28,
 9   2021, in which the parties agreed that:
10               • TURV would deliver 2,000,000 shares of common stock by Friday, July 30,
11                  2021 (the “Shares”). Black Mountain agrees that it will limit its sales of the
12                  Shares to 10% of the daily total of TURV shares sold on any given day.
13               • If TURV became fully current on its reporting requirements to the Securities
14                  Exchange Commission by October 28, 2021, it would owe no further
15                  obligation to Plaintiff. Otherwise, TURV would deliver 4,287,148 shares of
16                  TURV common stock to Plaintiff by October 31, 2021.
17         This last obligation was secured by an Agreed Judgment which Plaintiff agreed not
18   to seek unless the shares had not been delivered to Plaintiff by October 31, 2021. As
19   Defendant timely delivered 2,000,000 shares of common stock to Plaintiff but has failed to
20   become fully current on its reporting requirements to the Securities Exchange Commission,
21   and has failed to timely deliver the required 4,287,148 shares of TURV common stock to
22   Plaintiff, in accordance with the terms of the Notice of Settlement:
23         I.       Defendant SHALL DELIVER 4,287,148 shares of TURV common stock to
24   Plaintiff on or before February 18, 2022.
25         II.      Plaintiff SHALL LIMIT its sales of the Shares to 10% of the daily total of
26   TURV shares sold on any given day.
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 1         III.   There being no just reason for delay, pursuant to Rule 54(b) of the Federal
 2   Rules of Civil Procedure, the Clerk of the Court SHALL ENTER this Final Judgment
 3   forthwith and without further notice.
 4         IT IS SO ORDERED.
 5   Dated: January 21, 2022
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